..~

                   Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 1 of 7

                                                                  u. S 01/::/1.. : f 0'
                                                                         ,,) I H If' r {'
                                                             01(, ". ','                    r'l
                                                                   IRIC r OF ((.1'1 ~")((f{!f7T
                                                                 ,.:;,

      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                             1008 NOV _
                                                                  CL       .. >!,!"'
                                                                                       J 'tsoc'~BNY =
                                                                                         tt.O~~~;"\            AI""     ~
      ____                                         ---   ----dI~!\,) Ir;fl~"LTRON1J...,dLLY l-iT1,FD
      SECURITIES AND EXCHANGE COMMISSION                           /47 ~ALTI . ~                  #:                             n
                                    Plaintiff,            BY ~                          ~~-LE-';D-:-)-12._-::-P-~--'"
                                                                                                                  .-.;oA..jJ
                                                                        .                                                        :.,




                            - against-


      STEVEN BYERS, JOSEPH
      SHERESHEVSKY, WEXTRUST CAPITAL, LLC,                                              08-cv-7104 (DC)
      WEXTRUST EQUITY PARTNERS, LLC,
      WEXTRUSTDEVELOPMENT     GROUP, LLC,                                               ECFCASE
      WEXTRUST SECURITIES, LLC, and
      AXELA HOSPITALITY, LLC,



      ELKA SHERESHEVSKY,
                                    Defendants, and
                                                                  MEMO ENDORSED
                                    Relief Defendant.
                                .---.------------x
             ORDER ON CONSENT IMPOSING PRELIMINARY INJUNCTION AND
           OTHER RELIEF AGAINST THE DEFENDANTS AND RELIEF DEFENDANT

              The Securities and Exchange Commission ("SEC") having filed a Complaint on August

       II, 2008, and the SEC that same day having filed an Order To Show Cause seeking emergency

      relief; and the Court having entered orders dated August 11, 12 and September 12,2008,

      collectively granting a temporary restraining order, asset freeze and other relief against

      Defendants Steven Byers ("Byers"), Joseph Shereshevsky           ("Shereshevsky"),               Wextrust Capital,

       LLC ("Wextrust"),   W extrust Equity Partners, LLC ("WEP"), W ex trust Development                      Group,

       LLC ("WDG"), Wextrust Securities, LLC ("Wextrost Securities")                    and Axela Hospitality, LLC

       C'Axela") (collectively "the Defendants")    and appointing a temporary receiver over Wextrust,

       WEP, WDG, Wextrust Securities and Axela (collectively "the Wextrust Entity Defendants");                            the

       SEC having filed the First Amended Complaint on September 4, 2008 and the SEC that same
                  Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 2 of 7




    day having filed an Order to Show Cause seeking emergency relief and the Court having entered

    an order dated August 28, 2008 granting an asset freeze over the assets of the Relief Defendant,

    Elka Shereshevsky ("E. Shereshevsky"      or "Relief Defendant");   and Defendants Byers,

    Shereshevsky, Wextrost, WEP, WOO, Wextrust Securities and Axela and Relief Defendant E.

    Shereshevsky having each (1) entered a general appearance;      (2) consented to the Court's

    jurisdiction over the Defendants   and Relief Defendant and the subject matter ofthis action; (3)

    consented to entry of this Order On Consent Imposing A Preliminary Injunction And Other

    Relief Against The Defendants and Relief Defendant ("P.I. Order") without admitting or denying

    the allegations of the Complaint or Amended Complaint (except as to jurisdiction);       and (4)

    waived findings of fact and conclusions oflaw; and (5) waived any right to appeal from this PJ.

    Order:

                                                       I.

             IT IS HEREBY ORDERED that, pending final disposition of this action, the Defendants

     and the Defendants'   agents, servants, employees, attorneys, and all persons in active concert or

     participation with them who receive actual notice of this P.I. Order by personal servicf: or

     othetWise are preliminarily   restrained and enjoined from violating, directly or indirectly, Section

     17(a) ofthe Securities Act of1933 (the "Securities Act") [15 U.S.C. ~ 77q(a)} and Sec:tion 10(b)

     of the Securities Exchange Act of 1934 (the IIExchange Act") [15 U.S.C. ~ 78j(b)] andl Rule 10b-

     5 promulgated thereunder [17 C.F.R. ~ 240.10b-S}




                                                        2




I
              Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 3 of 7




                                                 II.

       IT IS HEREBY ORDERED that, pending final disposition of this action, Defendant

Wextrust Securities and its agents, servants, employees, attorneys, and all persons in active

concert or participation with it who receive actual notice of this P.I. Order by personal service or

otherwise are preliminarily restrained and enjoined from violating Sections 15(b)(l), IS(b)(7)

and 15(c) of the Exchange Act, 15 U.S.C. ~~780(b)(I)&(7) and 780(c), and Rules lOb-3, l5bl-l,

15b3-1 and 15b7-l promulgated thereunder, 17 C.F.R. ~~ 240.lOb-3, 240.1Sbl-l, 240.lSb3-l

and 240.l5b-7.

                                                 III.

        IT IS HEREBY ORDERED that, pending final disposition of this action, Defendants

Byers and Shereshevsky and Defendants Byers' and Shereshevsky's agents, servants, e:mployees,

attorneys, and all persons in active concert or participation with them who receive actual notice

of this P.I. Order by personal service or otherwise are preliminarily restrained and enjoined from

aiding and abetting any violation of Section 15(a) of the Exchange Act [15 U.S.C. ~ 78(0)(a)], or

alternatively, from aiding and abetting violations of Sections lS(b)(I), I5(b)(7) and lS(c) of the

Exchange Act, IS U.S.C. ~~780(b)(I)&(7) and 780(c), and Rules IOb-3, ISbI-I, ISbJ-l and

 ISb7-l promulgated thereunder, 17 C.F.R. ~~ 240.l0b-3, 240.l5bl-l.      240.15b3-1 and

240.1Sb-7.

                                                 IV.

        IT IS HEREBY ORDERED that, pending final disposition of this action or suc:hfurther

 order of the Court, the Defendants and the Relief Defendant and each of their financial and

 brokerage institutions, officers, agents, servants. employees, attorneys-in-fact, and those persons

 in active concert or participation with them and all other persons or entities who receive actual

                                                   3
              Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 4 of 7




notice of this P.1 Order by personal service or otherwise, and each of them, hold and retain

within their control, and otherwise prevent, any withdrawal, transfer, pledge, encumbrance,

assigrunent, dissipation, concealment or other disposal of any assets, funds, or other property

(including money, real or personal property, securities, commodities,     choses in action or other

property of any kind whatsoever) of, held by, or under the direct or indirect control of the

Defendants and Relief Defendant, including, but not limited to, entities owned or controlled by,

related to, or associated or affiliated with the Defendant Wex.trust Entities and the limited

liability companies they 'control or have an ownership interest in, including but not limited to,

those entities listed on Exhibit A, whether held in any of their names or for any of their direct or

indirect beneficial interest wherever situated, in whatever form such assets may presently exist

and wherever located within the territorial jurisdiction   of the United States courts, and directing

-each of the financial or brokerage institutions, debtors and bailees, or any other person or entity

holding such assets, funds or other property of the Defendants or Relief Defendant to bold or

retain within its or his control and prohibit the withdrawal, removal, transfer or other disposal of

 any such assets, funds or other properties including, but not limited to, all assets, funds, or other

properties held in the accounts listed on Exhibit B and Exhibit C, as well as each real estate

 parcel owned directly or indirectly by the Defendant Wextrust Entities and the limited liability

 companies they control or have an ownership interest in, including but not limited to, those

 entities listed on Exhibit A. Notwithstanding   the foregoing, nothing contained herein shall be

 construed to preclude Defendant Byers, Defendant Sherevshesky and/or the Relief Defendant,

 from applying to the Court, at any time, for an order relieving them (or any of them) ii-om all or

 part of the provisions of this Section N. The SEC reserves the right to oppose any sUl;h

 application but agrees that it shall not assert the fact of Defendants and/or Relief Defellldants'

                                                    4
" .                  Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 5 of 7




      prior consent to this Section IV as a reason for the Court to deny all or any part of any such

      application.




                                                        VI.

               IT IS HEREBY ORDERED that, pending final disposition of this action or such further

       order of the Court, Timothy J. Coleman, Esq., who was appointed Temporary Receiver by the

       Court's previous orders dated August 11, 2008 and September 11, 2008, shall serve as Receiver

       over Defendants Wextrust. WEP, WDG, Wextrust Securities, and Axela and affiliated entities

       pending the final disposition of this action pursuant to all the terms stated in the Court's

       Amended Order Appointing Temporary Receiver, dated September II, 2008, which is attached

       hereto as Exhibit D and fully incorporated into this Order by reference.

                                                          S
              Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 6 of 7




                                                VII.

       IT IS HEREBY ORDERED that, pending final disposition of this action or such further

order of the Court, the SEC and the Receiver may conduct expedited discovery; pursuant to

Rules 26, 30, 31, 33, 34, 36 and 45 ofthe Federal Rules of Civil Procedure and without the

requirement of a meeting pursuant to Fed. R. Civ. P. 26(f), limited to issuing'subpoenas     and

document requests to non-parties, and the Receiver may also continue to conduct discovery

pursuant to the terms ofthe Amended Order Appointing Temporary Receiver, dated September

11,2008, which is attached hereto as Exhibit D.

                                                VllI.

        IT IS HEREBY ORDERED that, pending final disposition of this action, the Defendants,

and any person or entity acting at their direction or on his behalf, or any other person who

receives actual notice of this P.I. Order by personal service or otherwise, are preliminarily

restrained and enjoined from destroying, altering, concealing or otherwise interfering with the

access of Plaintiff SEC and the Receiver to any and all documents, books and records, that are in

the possession, custody or control of the Defendants, or any of them, and each of their officers,

agents, employees, servants, accountants, financial or brokerage institutions, attorneys-.in-fact,

subsidiaries, affiliates, predecessors, successors and related entities, including, but not limited to,

all entities identified on Exhibit A including, without limitation, documents, books, and records

referring, reflecting or relating to the Defendants' finances or business operations.




                                                   6
               Case 1:08-mc-00265 Document 1 Filed 11/03/08 Page 7 of 7




                                                 IX.

         IT IS FURTHER ORDERED that the Consent is incorporated herein with the same force

and effect as if fully set forth herein, and that Defendant shall comply with aU of the

undertakings and agreements set forth therein.


Dated:    cP'-h:>~    .2f, ');Oo?




                                                   7




                                                                                             ..   :1
